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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                                  CIVIL ACTION

VERSUS                                                                       No. 12-859

MARLIN GUSMAN, ET AL.                                                      SECTION I

                                       ORDER

       The Court is in receipt of the City of New Orleans’s (the “City”) response1 to

the Court’s February 25, 2021 order. The City states therein that its original notice,

filed in response to the Court’s February 24, 2021 order continuing the submission

date for the City’s motion to stay, was intended “merely to clarify the record”—i.e., to

show that the City’s failure to respond within nearly five hours to the plaintiff class’s

request for consent was not “somehow unreasonable.”2 The City then states that “the

Court has now made its intentions clear” as to whether the Court will grant a

continuance and, presumably because of that, declines to offer any substantive

opposition.3 Paradoxically, the City cites to the order that rescinded this Court’s prior

continuance and invited the City to state its reasoned opposition.4

       Apparently, according to the City, (1) the Court has already made up its mind

(even though it rescinded its prior order), (2) the Court will therefore not consider any

opposition offered by the City (even though the Court expressly invited the City to




1 R. Doc. No. 1416.
2 Id. at 2.
3 Id. (citing R. Doc. No. 1415).
4 R. Doc. No. 1415, at 3.
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provide such opposition), and (3) therefore, no opposition is needed. If the City

opposes a continuance, it should just come out and say so. It has not.5

      The Court’s intention, as is true of any court, was and is to rule on the motion

based on the arguments before it. For whatever reason, the City decided not to share

its argument with the Court. Therefore,

      IT IS ORDERED that the plaintiff class’s motion6 to continue the submission

date for the City’s motion to stay is GRANTED, and the Court’s February 24, 2021

order7 is reinstated in full. As stated therein, the submission date for the City’s

motion to stay is CONTINUED to WEDNESDAY, APRIL 7, 2021.

      New Orleans, Louisiana, March 2, 2021.



                                                  LANCE M. AFRICK
                                           UNITED STATES DISTRICT JUDGE




5 See R. Doc. No. 1416, at 2–3.
6 R. Doc. No. 1412.
7 R. Doc. No. 1413.



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